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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                       )
  IN RE: PARAQUAT PRODUCTS             )
                                           Case No. 3:21-md-03004-NJR
  LIABILITY LITIGATION,                )
                                       )
                                           MDL No. 3004
                                       )
  This Document Relates to All Cases   )
                                       )




          DEFENDANTS’ JOINT SUBMISSION IN SUPPORT OF THEIR
     PROPOSED PROTOCOL FOR THE SELECTION OF BELLWETHER CASES
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          Defendants’ proposed bellwether protocol—a hybrid approach involving both random and

 party selection—uses best practices to identify a representative sample of cases that will yield

 meaningful information about the broader MDL inventory. The protocol, which is described in

 detail in the draft CMO attached as Exhibit A and the visual aid attached as Exhibit B, begins with

 the random selection of 50 cases; from that selection pool, the parties select 20 cases for fact

 discovery and waive Lexecon rights for those cases; at the close of fact discovery, the parties strike

 8 cases; and 5 of the remaining 12 cases are then randomly selected for motion practice and

 possible trial. Plaintiffs’ contrary proposal—that a single case, selected by Plaintiffs alone, should

 serve as the bellwether—lacks any support in precedent or commentary, would waste party and

 judicial resources without meaningfully advancing the MDL, and fails to properly account for

 Lexecon issues. The Court should adopt Defendants’ proposal.

          The purpose of a bellwether process is to “provide meaningful information and experience

 to everyone involved.” 1         In particular, pretrial proceedings in bellwether cases should yield

 “decisions on key issues applicable to other cases in the [MDL] (including on Daubert issues,

 cross-cutting summary-judgment arguments, and the admissibility of key evidence).” 2 And those

 decisions and (if necessary) trial results should “help the parties assess the strengths and

 weaknesses of various types of claims pending in the MDL.” 3




     1
       Hon. Eldon E. Fallon, et al., Bellwether Trials in Multidistrict Litigation, 82 TULANE L. REV. 2323, 2332 (2008);
 see 4 NEWBERG ON CLASS A CTIONS § 11:13 (5th ed.) (noting that Judge Fallon’s recommendations regarding
 bellwether selection are the “best documented in the literature”).
     2
      Bolch Judicial Institute, Duke Law School, Guidelines and Best Practices for Large and Mass-Tort MDLs, 23
 (2d ed. 2018), available at https://scholarship.law.duke.edu/bolch/5/ (hereinafter, “Duke MDL Manual”); see also
 Briggs v. Merck Sharp & Dohme, 796 F.3d 1038, 1051 (9th Cir. 2015) (noting that bellwethers may “aid[ ] in
 predicting the outcome of tricky questions of causation or liability”).
     3
       Duke MDL Manual at 23; see also MANUAL FOR COMPLEX LITIGATION § 22.315 (4th ed. 2004), available at
 https://www.uscourts.gov/sites/default/files/mcl4.pdf (explaining that bellwethers should “enable the parties and the
 court to determine the nature and strength of the claims ... and what range of values the cases may have”).

                                                           1
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            To achieve those ends, the cases selected as bellwethers must be sufficiently numerous and

 sufficiently representative to provide reliable information about the broader set. 4 Proceeding with

 a small number of non-representative bellwethers would only prolong the MDL and waste

 resources. 5 A bellwether protocol should therefore “minimize the risk that parties will attempt to

 ‘game’ the … process to result in test trials of cases that are not representative of the entire case

 pool.” 6

            There are three primary ways MDL courts have attempted to identify a representative

 sample of bellwether cases: (1) pure random selection, (2) party or judicial selection, or (3) a

 “hybrid” of random selection and party or judicial selection. 7 Because the first two methods “may

 not provide a truly representative cross-section of all cases,” 8 courts and commentators have

 increasingly found that a hybrid approach works best. 9 For example, in one recent MDL, the court




     4
        See M ANUAL FOR COMPLEX LITIGATION § 22.315 (“[T]he more representative the test cases, the more reliable
 the information about similar cases will be.”); Duke MDL Manual at 19 (“[T]he bellwether process will be valuable
 only if the cases selected for trial are truly representative of the whole[.]”); In re Yasmin & Yaz (Drospirenone) Mktg.,
 Sales Pracs. & Prod. Liab. Litig., No. 09-MD-02100-DRH, 2010 WL 4024778, at *1 (S.D. Ill. Oct. 13, 2010) (“It is
 critical to a successful bellwether plan that an honest representative sampling of cases be achieved.”).
     5
       See Fallon, 82 TULANE L. REV. at 2359 (“If one side … can cast aside with conviction its defeats as being
 atypical, the bellwether trials will have failed in their ultimate purpose.”); cf., e.g., In re Testosterone Replacement
 Therapy Prod. Liab. Litig. Coordinated Pretrial Proc., No. 14-cv-1748, 2017 WL 2574057, at *5 (N.D. Ill. May 22,
 2017) (using an “idiosyncratic,” “unrepresentative” case as a bellwether would “disrupt[]” the process to “which the
 Court and the parties ha[d] already devoted enormous time and resources”); In re Bair Hugger Forced Air Warming
 Devices Prod. Liab. Litig., 322 F. Supp. 3d 911, 913 (D. Minn. 2018) (noting that a failed bellwether process “would
 waste the resources expended in advancing” that process and “delay the … MDL by many months”).
     6
         Duke MDL Manual at 26.
     7
       See id. at 23–26; Deutsch & Spencer, Trends in Selecting Bellwether Trials in Multidistrict Litigation, 34
 W ESTLAW         JOURNAL          16,       1       (2016),         available    at    https://www.shb.com/-
 /media/files/professionals/d/deutschnicholas/bellwethertrialselection.pdf?la=en.
     8
       Duke MDL Manual at 25; see also FED. JUDICIAL CTR., COORDINATING M ULTIJURISDICTION LITIGATION: A
 POCKET GUIDE FOR JUDGES 12 (2013), available at https://www.fjc.gov/sites/default/files/2014/Coordinating-
 Multijurisdiction-Litigation-FJC-2013.pdf (“Selecting cases randomly … is unlikely to produce a representative set
 of verdicts that will assist the parties in reaching a global settlement.”); Fallon, 82 TULANE L. REV. at 2348 (“If cases
 are selected at random, there is no guarantee that [those] cases … will adequately represent the major variables.”).
     9
       See, e.g., Deutsch & Spencer, 34 W ESTLAW JOURNAL at 2 (“[M]any courts have adopted a hybrid approach in
 which the parties may select bellwether cases, but only from a pool of cases that is either randomly selected or selected
 by the Court.”); Duke MDL Manual at 25 (“[A] hybrid approach allows parties to participate in the selection process,

                                                            2
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 “began by randomly choosing 100 cases”; “[e]ach side then picked 16 cases” for discovery; and

 eight cases were selected to proceed to trial. 10

            Defendants’ proposed bellwether protocol is a hybrid approach of the kind courts and

 commentators favor. 11 It is the product of weeks of discussions with Plaintiffs and with Special

 Master Ellis.       It provides for large enough discovery and trial pools that pre-trial rulings—

 including on Daubert motions and potentially dispositive issues like causation, failure to warn,

 and exposure—can be extracted to the broader MDL inventory. It encompasses enough cases to

 identify claims that are so thin and weak that plaintiffs and their counsel would rather dismiss them

 than move toward trial. Indeed, more than 70 plaintiffs (roughly 20% of the total plaintiffs with

 PAQs due on November 23rd) have already chosen to dismiss their claims rather than complete

 the short-form PAQ. A comparable number may well chose voluntary dismissal rather than face

 discovery or trial, and Defendants’ proposal accounts for that possibility. 12                  It also specifically

 addresses Plaintiffs’ stated concerns about resolving Lexecon issues prior to discovery. 13 And it




 provides some assurance that claims are representative, and avoids concerns with other approaches while yielding
 what could be a representative stable of cases.”).
      10
         Duke MDL Manual at 25 (discussing In Re: Testosterone Replacement Therapy Products Liability Litigation,
 No. 14-cv-01748, MDL No. 2545 (N.D. Ill.)); see also, e.g., In re: Benicar (Olmesartan) Prod. Liab. Litig., No. 15-
 2606 (RBK/JS), 2016 WL 1370998, at *1 (D.N.J. Apr. 6, 2016) (citing CMO No. 15 (Dkt. No. 193) (“allow[ing] the
 parties to select 20 bellwether cases from a pool of 30 randomly selected cases”); 4 NEWBERG ON CLASS A CTIONS
 § 11:15 (discussing various bellwether protocols in which of 20–30 cases were initially selected for discovery, and
 then a smaller subset (3–5) were selected for trial).
     11
          See Exhibit A (draft CMO); Exhibit B (visual aid).
     12
         Exhibit A ¶¶ 3–4, 7; see Duke MDL Manual at 27 (discussing voluntary dismissals and suggesting, for instance,
 that in the event of a voluntary dismissal “the other party could be invited to choose the replacement case”); Deutsch
 & Spencer, 34 W ESTLAW JOURNAL at 3 (noting that tactics regarding voluntary dismissals “ha[ve] the potential to
 derail the bellwether process, and MDL courts have dealt with [voluntary dismissals] in a variety of ways”).
     13
        Exhibit A ¶ 3; see also, e.g., Fallon, 82 TULANE L. REV. at 2359 (suggesting that Lexecon waivers be given
 before a party may “nominat[e] a case to fill a spot in the trial-selection pool” and proceed through discovery); In re:
 Pradaxa (Dabigatran Etexilate) Prods. Liab. Litig., MDL No. 2385 (S.D. Ill. Apr. 9, 2013) (Am. CMO No. 28 at 2),
 available at http://www.ilsd.uscourts.gov/Documents/mdl2385/CMO28Amended.pdf (providing that Lexecon
 waivers be given for all cases the proceed to discovery); Baxter v. Lincoln Elec. Co., No. 1:08-WF-17037, 2012 WL
 112526, at *4 (N.D. Ohio Jan. 12, 2012) (suggesting that a party waive its Lexecon rights when it nominates a case to
 serve as a bellwether); Solis v. Lincoln Elec. Co., No. 1:04-CV-17363, 2006 WL 266530, at *4 (N.D. Ohio Feb. 1,

                                                            3
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 minimizes the potential for gamesmanship by allowing the opposing side to select a replacement

 case where a Lexecon waiver is declined. 14

            Defendants sent their bellwether proposal to Plaintiffs on October 1, 2021. Plaintiffs failed

 to respond for nearly six weeks. 15 When they finally did respond, Plaintiffs identified no specific

 concerns and offered no constructive feedback. Instead, they effectively disavowed the bellwether

 process altogether, suggesting that they should unilaterally choose a single case to proceed to trial

 and that Defendants should provide a blanket Lexecon waiver for all Illinois cases. 16

            Plaintiffs’ unilateral selection proposal undermines the very purpose of bellwether

 selection: to identify a representative sample of cases. It is inconsistent with the great weight of

 precedent and commentary. 17 It makes no account for the waste and delay that would result if the

 single bellwether voluntarily dismisses during or after discovery (a real possibility given the

 number of voluntary dismissals to date). And it does nothing to ensure that pretrial rulings or (if

 necessary) trial results will have any relevance to cases beyond the one Plaintiffs unilaterally

 select. Instead, it appears to be a direct attempt to take only what Plaintiffs believe to be their

 strongest case to trial, and then rely on that idiosyncratic result to coerce inflated settlements. That

 is not a bellwether process at all.



 2006) (“when the parties were negotiating the concept of holding bellwether trials,” the court addressed Lexecon by
 providing that parties would have to waive Lexecon rights to designate a case as a potential bellwether).
     14
        See Exhibit A ¶ 3; see, e.g., In re: Pradaxa (Dabigatran Etexilate) Prods. Liab. Litig., MDL No. 2385 (S.D.
 Ill. Apr. 9, 2013) (Am. CMO No. 28 at 2) (providing that the defendants would have the right to select a replacement
 case where the plaintiffs declined to waive Lexecon for a case the defendants had previously selected).
     15
          See Exhibit C (Nov. 16, 2021 Letter from L. DeJulius) at 1.
     16
          See Exhibit D (Nov. 9, 2021 Letter from P. Flowers) at 1.
     17
        See Duke MDL Manual at 27 (a productive bellwether process requires “obtaining a sufficient number of
 outcomes to provide guidance, given the variety of fact patterns, claims, and defenses anticipated”); id. at 20 (“Usually,
 a judge should be skeptical of the value provided by trying one side’s ‘strong’ cases that may not be representative of
 the broader claims[.]”); Fallon, 82 TULANE L. REV. at 2350 (“[I]n permitting only one side to fill the entire trial-
 selection pool, the transferee court opens the door for the inequitable stacking of overtly unfavorable and possibly
 unrepresentative cases, as well as creating an atmosphere of antagonism.”).

                                                             4
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            Their insistence on a blanket Lexecon waiver is similarly misguided and unworkable.

 Venue considerations are often case-specific, and parties have the right to assert or waive Lexecon

 rights on a case-by-case basis. 18 Moreover, limiting the bellwether pool to Illinois cases—as

 Plaintiffs’ proposal seems to suggest—would virtually guarantee a non-representative sample. 19

 The entire purpose of an MDL is to provide a path toward resolution of all cases, not just cases in

 one jurisdiction.      So the Lexecon waiver process should allow for a bellwether pool that spans

 multiple jurisdictions. 20 Defendants’ proposal, unlike Plaintiffs’, achieves that goal, while still

 preserving party and judicial resources by providing for waivers before discovery begins. 21

            Defendants respectfully request that the Court adopt their proposal and enter the draft CMO

 attached as Exhibit A.




     18
        See Fallon, 82 TULANE L. REV. at 2358 (“To effectuate Lexecon waivers, the parties should each consider the
 merits of all cases individually and, under circumstances with which each feels comfortable, waive their Lexecon
 objections on a case-by-case basis.”); Duke MDL Manual at 21–22 (discussing problems arising from a “blanket
 Lexecon waiver”).
     19
        See Fallon, 82 TULANE L. REV. at 2354 (limiting pool to cases involving “a single state’s substantive law would
 render the bellwether trials of limited value”); Duke MDL Manual at 21 (cases from a single jurisdiction “may not be
 representative of the entire MDL case pool”); Loren H. Brown et al., Bellwether Trial Selection in Multi-District
 Litigation: Empirical Evidence in Favor of Random Selection, 47 A KRON L. REV. 663, 683 (2014) (“[B]ecause of
 differences in state law and commercial practices, it is unclear whether plaintiffs from one state will be representative
 of those from every other state.”).
      20
         See, e.g., In re Fosamax Prod. Liab. Litig., No. 06-MD-1789-JFK, 2011 WL 1584584, at *1 (S.D.N.Y. Apr.
 27, 2011) (“So that the selected cases would constitute a representative sample of the cases comprising the … MDL,”
 parties were permitted to select cases from other jurisdictions “on the condition that, for each case selected … , the
 parties would execute Lexecon waivers.”); Duke MDL Manual at 21 (discussing Lexecon and suggesting that courts
 “adopt a strategy for facilitating the availability of the broadest possible pool of [bellwether] candidates”).
     21
          See supra n.13.

                                                            5
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 December 1, 2021                            Respectfully submitted,

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                                             6
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                     EXHIBIT A
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                                  )
                                                                  )
     In re: PARAQUAT PRODUCTS                                     )
                                                                       Case No. 3:21-md-3004-NJR
     LIABILITY LITIGATION,                                        )
                                                                  )
                                                                       MDL No. 3004
                                                                  )
     This Document Relates to All Cases                           )
                                                                  )

                           CASE MANAGEMENT ORDER NO. [X]
                    REGARDING SELECTION OF BELLWETHER PLAINTIFFS

           The Court hereby ORDERS that the following procedures shall govern the selection of

 bellwether plaintiffs for pre-trial discovery and trial plaintiff selection:

           1.       Within 7 days following completion of the PAQs, the Court will randomly select

 50 plaintiffs for inclusion in a bellwether selection pool. 1


           2.       Within 7 days of the Court identifying the bellwether selection pool, lead counsel

 for plaintiffs shall select 10 plaintiffs from the selection pool, and Syngenta and Chevron shall

 each select 5 plaintiffs from the selection pool, for a total of 20 plaintiffs, to serve as pre-trial

 discovery plaintiffs. Selections shall be sent via email simultaneously to the opposing side at 5:00

 pm CST on the date they are due.


           3.       The selecting party waives its rights pursuant to Lexecon Inc. v. Milberg Weiss

 Bershad Hynes & Lerach, 523 U.S. 26, for any plaintiff it selects. Within 7 days of the selection

 described in this paragraph, any pre-trial discovery plaintiffs selected by Defendants shall


 1
       To facilitate this random selection, plaintiffs’ counsel shall provide the Court and Defendants with a list of all
       plaintiffs in the MDL as of the date of CMO [x], in alphabetical order by last name, each numbered
       sequentially. The Court will use the random sequence generator at random.org (RANDOM.ORG - Sequence
       Generator) to randomly sequence the plaintiff numbers, the first 50 numbers in the randomized sequence shall
       constitute the selection pool.


                                                              1
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 determine whether to voluntarily dismiss (without prejudice) their claims and each party must

 indicate whether it will waive its Lexecon rights for plaintiffs the opposing side selected. If a

 plaintiff is removed from the discovery pool as part of this process—either because Lexecon

 waivers are not obtained or because the plaintiff voluntarily dismisses—the party that selected that

 plaintiff shall select a replacement (or replacements) from the bellwether selection pool as

 necessary to establish a discovery pool of 20 plaintiffs (10 chosen by plaintiffs and 5 each chosen

 by Syngenta and Chevron) for whom all parties waive Lexecon. If the parties select one or more

 of the same plaintiffs for inclusion in the discovery pool, the additional pre-trial discovery

 plaintiffs will be selected from the remaining plaintiffs in the bellwether selection pool on an

 alternating basis. The side with the least amount of selected plaintiffs currently in the pre-trial

 discovery pool shall select first.


         4.      Once a pre-trial discovery plaintiff is in the pool, a pre-trial discovery plaintiff

 cannot voluntarily dismiss without prejudice; any voluntary dismissal will be with prejudice,

 absent agreement of parties or upon court order showing of good cause.


         5.      The parties shall pursue bilateral fact discovery for all pre-trial discovery plaintiffs

 simultaneously, to be completed within the time specified in CMO [x].


         6.      At the close of fact discovery, each side can strike four of the opposing side’s

 selections (two strikes each for Syngenta and Chevron and four strikes for plaintiffs), leaving 12

 pre-trial discovery plaintiffs total, from which the Court will randomly select five plaintiffs to be

 prepared for trial, using the same random sequence generator. These five plaintiffs’ cases will be

 tried individually in serial trials in the order in which they are randomly selected, should any of

 the five plaintiff’s cases survive to trial.


                                                    2
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         7.      The voluntary dismissal by a pre-trial discovery plaintiff following inclusion in the

 20 plaintiff bellwether selection pool shall count as a strike by plaintiffs. In the event that more

 than four pre-trial discovery plaintiffs voluntarily dismiss their cases, defendants shall receive an

 additional strike for each such dismissed pre-trial discovery plaintiff.


         8.      The parties will complete expert discovery as to all five trial plaintiffs, followed by

 dispositive motions and Daubert motions, and, if necessary, staggered individual trials, pursuant

 to the schedule set forth in CMO [x]. If the Court schedules multiple sequential trials, it will set

 trial-related deadlines after ruling on dispositive motions and Daubert motions in connection with

 each of the five trial plaintiffs.


         SO ORDERED.



                                                        ____________________________________
                                                        Chief Judge Nancy J. Rosenstengel


         Dated: ______________________




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                      EXHIBIT B
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                            All Cases in the MDL



                 50 Cases Randomly Selected by Court




      Plaintiffs Select 10 Cases for         Defendants Select 10 Cases for
      Discovery and Waive Lexecon            Discovery and Waive Lexecon
             for Those Cases                       for Those Cases



     Lexecon Waivers: Defendants              Lexecon Waivers: Plaintiffs
      Waive Lexecon for Plaintiffs’          Waive Lexecon for Defendants’
       Cases; Where Waivers Not                Cases; Where Waivers Not
       Obtained, Plaintiffs Select            Obtained, Defendants Select
             Replacements                            Replacements



                      20 Cases Proceed Through Fact
                                Discovery



         Defendants Strike 4 of                  Plaintiffs Strike 4 of
           Plaintiffs’ Cases                     Defendants’ Cases




                     12 Representative Cases in Trial
                             Selection Pool

                     Court Randomly Selects 5 Cases
                        for Motion Practice and
                           (if Necessary) Trial
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                      EXHIBIT C
Case 3:21-md-03004-NJR Document 562 Filed 12/01/21 Page 15 of 19 Page ID #1596



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                                                 November 16, 2021



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          Re: In re: Paraquat Products Liability Litigation, No. 3:21-md-3004 (S.D. Ill.)

 Dear Counsel:

         I am writing on behalf of Chevron U.S.A. Inc., Syngenta AG, and Syngenta Crop
 Protection LLC (collectively “Defendants”) in response to Plaintiffs’ November 9, 2021 letter
 regarding the process for identifying bellwether cases in the above-referenced proceeding.

         A recurring topic of our weekly calls with Special Master Ellis for the past several
 months has been the parties’ agreement that the Court needs to adopt an appropriate bellwether
 protocol for the MDL proceeding. To that end, Defendants and Plaintiffs Leadership Committee
 had a conference call in mid-September to discuss, in good faith, a potential bellwether process,
 including a process to address concerns expressed by both sides on Lexecon waivers. Based on
 that call, Defendants drafted a bellwether protocol that was designed to be mutually acceptable
 and sent it to Plaintiffs nearly six weeks ago. Despite Plaintiffs’ repeated commitment on our
 weekly calls with Special Master Ellis to provide comments on the draft protocol, we did not
 receive any comments—or even a request for a discussion—until November 9. And, on
 November 9, instead of providing substantive comments, Plaintiffs disavowed any bellwether


 AMSTERDAM • ATL ANTA • BEIJING • BOSTON • BRI SBANE • BRUSSE L S • CHICAGO • CLEVE L AND • COLUMBUS • DAL L AS • DETROIT
 DUBAI • DÜSSELDORF • FRANKFUR T • HONG KONG • HOUSTON • IRVINE • LONDON • LOS ANGELES • MADRID • MELBOURNE
 MEXICO CIT Y • MIAMI • MIL AN • MINNEAPOLIS • MOSCOW • MUNICH • NEW YORK • PARIS • PER TH • PITTSBURGH • SAN DIEGO
 SAN FRANCISCO • SÃO PAULO • SAUDI ARABIA • SHANGHAI • SILICON VALLEY • SINGAPORE • SYDNEY • TAIPEI • TOKYO • WASHING TON
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 process instead suggesting that Plaintiffs pick a case of their choosing to try. To say the least, we
 were surprised. That offer is not only one-sided and inequitable, but it does nothing to move the
 overall litigation toward dispositive motions and if necessary trials and appeals.

          In addition to providing no justification for their proposal that Plaintiffs unilaterally
 choose a case to proceed, Plaintiffs cite no legal authority to support their assertion that random
 selections are unrepresentative. To the contrary, courts have recognized that in order “[t]o obtain
 the most representative cases from the available pool, a judge should direct the parties to select
 test cases randomly or limit the selection to cases that the parties agree are typical of the mix of
 cases.” MANUAL COMPLEX LIT. § 22.315 (4TH ED.). MDL courts often rely on purely random
 bellwether selections. See, e.g., In re Deepwater Horizon Belo Cases, No. 19-cv-963, 2020 WL
 6689212, at *1 (N.D. Fla. Nov. 4, 2020) (“Two groups of Plaintiffs have been randomly selected
 to proceed as bellwether cases, with discovery bifurcated between general and specific
 causation”). More importantly, Defendants’ draft protocol is not a random selection. While
 Defendants’ draft protocol used a random selection to narrow the field to a more manageable
 number of cases, the protocol provided that the parties would select cases and strike cases so that
 a truly representative selection could proceed through discovery. Plaintiffs have offered no
 objection (or response at all) to Defendants’ proposed selection and strike process.

         For similar reasons, Plaintiffs’ proposal that all parties waive any jurisdictional objections
 they may assert under Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26
 (1998) for all Illinois cases is not well taken. Defendants have repeatedly informed Plaintiffs
 that they cannot agree to a blanket Lexecon waiver but would be happy to discuss such waivers
 in the context of specific cases. Defendants, furthermore, understand Plaintiffs’ desire to not
 work up initial bellwether cases where Defendants will not agree to waive Lexecon. Based on
 the parties’ discussions and to accommodate Plaintiffs’ concerns, the draft bellwether protocol
 provided that Defendants would provide Lexecon waivers before case specific discovery began.
 On our September conference call, Plaintiffs thought this could be a workable compromise.

         It is critical to establish a procedure for identifying bellwether cases as soon as possible
 to serve our shared goals of minimizing the expense of this litigation and imposing as little
 burden as possible on the Court. We are available to meet and confer on our call with you
 tomorrow at 2 pm ET. If we are unable to reach agreement on that call, we suggest proposing an
 expedited briefing schedule on the issue so that the Court can decide and determine the
 bellwether protocol as soon as possible.

                                        Sincerely,



                                        Leon F. DeJulius, Jr.
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 November 16, 2021
 Page 3



 Cc:   Sharyl A. Reisman
       Jihan E. Walker
       Leslie M. Smith
       Bradley H. Weidenhammer
       Ragan Naresh
       Megan Ann Scheiderer
       Randi Ellis
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                      EXHIBIT D
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                                          November 9, 2021

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       Re: Paraquat Products Liability Litigation
       Case No. 3:21-md-3004-NJR, MDL 3004

Dear Counsel:

       Thank you for your draft bellwether proposal. We have reviewed your proposal and have the
following preliminary thoughts.

         As an initial premise, we believe that a process of random selection of bellwether cases will
not provide us an accurate assessment as to the true value of these cases. This method has repeatedly
resulted in the selection of cases that do not provide any meaningful information to move the entire
litigation forward. Given that plaintiffs have the burden of proof, we propose that plaintiffs be tasked
with the first trial selection. We are happy to discuss a process for the selection of cases moving
forward after plaintiffs select the first case to proceed to trial.

        With respect to venue, we propose that all parties agree to waive Lexecon for all Illinois cases,
in writing, within the next ten (10) days. After PAQs have been completed, circulated and reviewed
by both sides, the parties can then revisit which additional jurisdictions, if any, the parties are
agreeable to proceeding with to trial in the Southern District of Illinois.

          We thank you for your consideration and look forward to your thoughts.

                                                      Sincerely,



                                                      Peter J. Flowers, Esq.
                                                      MEYERS & FLOWERS, LLC
PJF/cld

cc: Sarah Shoemake Doles; Khaldoun A. Baghdadi; Randi Ellis
